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                  THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )
                                              )
      v.                                      )        Case No. 23-cr-427 (DLF)
                                              )                 24-cr-238 (DLF)
DAN EDWIN WILSON,                             )
  Defendant                                   )
_____________________________/

      DEFENDANT WILSON’S UNOPPOSED MOTION TO EXTEND
                     SURRENDER DATE

      The Defendant, DAN EDWIN WILSON, by and through undersigned

counsel, moves this Honorable Court to enter its order extending his surrender date,

and as grounds therefore states the following:

      1.     The Defendant is currently scheduled to surrender on Thursday,

February 27, 2025, no later than 2 P.M.

      2.     Upon counsel’s request, the government has agreed to take another

look at the defendant’s legal situation, and in the hopes of averting further litigation

through appeal and/or collateral attack, wish to reach a resolution that would achieve

that goal. The government and undersigned counsel submit that thirty (30) days

would be sufficient to accomplish such a final resolution.

      3.     Prior to filing this motion, undersigned counsel contacted Jennifer
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Blackwell, counsel for the government, and is authorized to represent to the Court

that the government has no opposition to this motion.

      4.     This motion is being made in good faith and is not interposed for the

purposes of unnecessary delay.

             WHEREFORE, the Defendant respectfully requests that this Honorable

Court grant the relief requested herein and enter its order extending his surrender

date thirty (30) days.

                                 Respectfully submitted,

                                       GEORGE T. PALLAS, P.A
                                       Counsel for Dan Edwin Wilson
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                                       By:/s/ George T. Pallas
                                        GEORGE T. PALLAS, ESQ.


                           CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been

electronically filed with the Clerk of Court using CM/ECF system which will send

notification of such filing.

                                                   By:/s/_George T. Pallas_____
                                                     GEORGE T. PALLAS, ESQ
